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             09.18.2023 Notice
            of appeal of preliminary injunctions (combined) - Copy.pdf
                        UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                                            Master Case No.:
                                                                         1:21-mi-55555-JPB



                                   NOTICE OF APPEAL
      Intervenor-Defendants the Republican National Committee, the Na-

tional Republican Senatorial Committee, the Georgia Republican Party, Inc.,

and the National Republican Congressional Committee provide this notice of

appeal to the U.S. Court of Appeals for the Eleventh Circuit from this Court’s

orders entered on August 18, 2023, granting Plaintiffs’ Motion for a Prelimi-

nary Injunction Based on Immaterial Voting Requirements, see ECF 613, and

granting Plaintiffs’ Motions for a Preliminary Injunction regarding the Penalty

Provision, see ECF 614.




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Dated: September 18, 2023             Respectfully submitted,

                                      /s/ William Bradley Carver

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                      CERTIFICATE OF SERVICE

     On September 18, 2023, I e-filed this document on ECF, which will email

everyone requiring service.

                                         /s/ William Bradley Carver




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